    Case 2:16-cv-00686-MWF-PJW Document 247 Filed 04/01/19 Page 1 of 1 Page ID #:2691




                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                CASE NUMBER:
Alisu Investments, LTD., et al.,
                                                                               CV 16-686-MWF(PJW)
                                                 Plaintiff(s)
                                   v.

TriMas Corporation, et al.,
                                                                 MOTION RE: INFORMAL DISCOVERY DISPUTE
                                               Defendant(s)



The parties have requested an informal discovery conference with Magistrate Judge
Counsel for each party has submitted their respective positions and the issue will be adjudicated in accordance
with the Magistrate Judge's procedures.




 Dated:             April 1, 2019                                      By:         /s/ Isabel Martinez
                                                                                       Deputy Clerk




CV-19 (07/18)                           MOTION RE: INFORMAL DISCOVERY DISPUTE                            Page 1 of 1
